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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION


 UNITED STATES OF AMERICA,                        CR 23-99-BLG-SPW


                        Plaintiff,
                                               ORDER SETTING
           vs.                                 SENTENCING


 JEFFERY JAMES BLANKENSHIP,

                        Defendant.


      Defendant entered his plea of guilty before U.S. Magistrate Judge Timothy

J. Cavan in open court on October 5,2023. United States Magistrate Judge

Timothy J. Cavan entered Findings and Recommendation in this matter on October

5, 2023(Doc. 22). No objections having been filed within fourteen days thereof,

      IT IS HEREBY ORDERED that Judge Cavan's Findings and

Recommendations(Doc. 22)are ADOPTED IN FULL;

      Therefore,

      IT IS HEREBY ORDERED that,

      1.         Sentencing is set for Wednesday,February 7,2024 at 10:30 a.m., in

the James F. Battin Courthouse, 2601 Second Avenue North, Billings, Montana.
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